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         3:21-cv-03169-CRL-KLM # 1    Filed: 07/19/21   Page 1 of 2     00
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lN THE UNITED STA TES DISTRICT COURT FOR THE ELEVENTH JUD~'/AL
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CIRCUIT, SANGAMON COUN~ SPRINGFIELD, IL.                 § ~
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MICHEAL W. GRAGG,                  ) CASE NO.: _   _ __ _ __                _

PLAINTIFF,                         ) ADA cIvIL RIGHTS VIOLA      T10F f L E D
  V.                               ) DISCRIMINATION,
                                                                              JUL 1' 9 2021
SANGAMON COUNTY ANIMAL         )                                     CLERK OF THE COU1'T
                                                                  C   U.S. DISTRICT COURT
CONTROL.                       )                                   ENTRAL DISTRICT OF llLINOIS

  1. THAT I THE PLAINTIFF AM CURRENTLY HOMELESS BUT MY MAILING
     ADDRESS IS: 1023 E WASHINGTON STREET, SPRINGFIELD, IL. 62703.
  2. THAT I~~ SEEING EYE DOG THAT WAS A FANCY COLLIE NAMED
     LASSIE      'L 2021.
  3. THAT DEFENDANTS UNDER THE DIRECTION OF THE PRESIDENT OF K9
     WILD JILL EGIZI/ SEIZED MY SEEING EYE DOG A FANCY COLLIE NAMED
     LASSIE, IN MAY OF 2021.
  4. THAT AFTER SEIZING THE DOG PRESIDENT OF K9 WILD JILL EGIZI/
     FILED A CRIMINAL MATTER AGAINSTMEAT SANGAMON COUNTY
     CIRCUIT COURT CASE NO.: 21CM301.
  5. THAT MY FIRST CASE GOT POSTPONED BECAUSE I WAS IN THE
     HOSPITAL AND STILL AM IN THE HOSPITAL I WAS RELEASED FOR A
     COUPLE OF WEEKS AND THREE WEEKS AGO WAS ADMITTED BACK AT
     MEMORIAL MEDICAL CENTER.
  6. THAT I AM IN ROOM E251 AT MEMORIAL MEDICAL CENTER SINCE JULY
     5, 2021 MY FIRST COURT APPOINTMENT WAS SUPPOSED TO BE JUNE B,
     I GOT RELEASED JUNE 24, 2021 BACK ADMITTED AGAIN JULY 5, 2021
     AND I AM STILL IN THE HOSPITAL SO I CALLED THE STA TES ATTORNEY
     THEY SAID TO FAX THE ADMISSION PAPERS TO THEM AND THEY
     WOULD POSTPONE THE CASE AND I DID AND THEY POSTPONED THE
     CASE UNTIL AUG. 26, 2021.
  7. THAT ANIMAL CONTROL SEIZED THE DOG IN MAY.
  8. THAT LASSIE WAS A SEEING EYE DOG MAKING THIS A CIVIL RIGHTS
      VIOLATION AND DISCRIMINATION.
  9. THAT THE LEGAL DEFINITION OF A CIVIL RIGHTS VIOLATION IS VERY
     BROAD BUT INCLUDES DISCRIMINATION AND THE LEGAL DEFINITION
     OF DISCRIMINATION IS TO DISCRIMINATE IN THE BASIS OF HOUSING,
     EMPLOYMENT, IN ANY AREA DEFENDANTS DISCRIMINATED AGAINST
     ME IN SEVERAL WAYS I AM COMPLETELY BLIND LASSIE WAS MY EYES, I
               3:21-cv-03169-CRL-KLM # 1   Filed: 07/19/21    Page 2 of 2




          SUFFER FROM GLAUCOMA, DETACHED RETINAS, ANO BLUNT FORCE
          TRAUMA MAKING THIS DISCRIMINATION AGAINST A SEEING EYE DOG
          THAT CLEARLY LASSIE WAS, I AM DISABLED ALSO IN THAT I HA VE
          HEART ISSUES, KIDNEY FAILURE REQUIRING DIALYSIS TUESOA Y,
          THURSOA Y ANO SATUROA Y BETWEEN 11 AM-2:30 PM, ANO NOW I HA VE
          A BLOCKAGE THAT REQUIRED SURGERY 2 DAYS AGO.
      10.       FOR THE REASONS SET FORTH BELOW I PRAY THE FOLLOWING
          FOR OEFENOANT,S SANGAMON COUNTY ANIMAL CONTROL
          DEFENDANTS TO SEIZE ANO DESIST FROM ANY FURTHER
          OISCRIMINATlqN, HARRASSMENT, AGAINST ME THE PLAINTIFF
          Ml 'H;~L W. GRAGG,
      11.    \ (p( , 1 t.'E SUM OF 75,000 + PAIN AND SUFFERING.
           ~ ~    - ),                                  .




          cJ {J. . "{I                     ((6(1~       J ~19       ,20213:50 PM.
                                                  Saturday, -;July 17, 20213:S0PM.

    I, PLAINTIFF MICHEAL W. GRAGG SWEAR TO FILE THIS CASE IN THE UNITED
    STA TES DISTRICT COURT FOR THE ELEVENTH JUDICIAL CIRCUIT MONDAY,
    JU     9 ~ '21 AT9AM.
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    MICHEAL W. GRAGG.                 Saturday, July 17, 2021 3:52 PM.



    I, PLAINTIFF MICHEAL W. GRAGG SWEAR THAT A COPYOFTHISCOMPLAINT
    WILL  B1 MAILED TO THE DEFENDANTS SANGAMON COUNTY ANIMAL
    co T.J     I   UESDA Y, JULY 20, 2021 AT 10 AM.

     , .r ,                            (   ~v-~   tQJ
v    J .)                       (Y) (l~Lut]                   2021 3:53 PM.

    MICHEAL W. GRAGG             Saturday, July 17, 2021 3:54 PM.
